              Case 2:07-cr-00515-WBS Document 272 Filed 02/22/11 Page 1 of 2


     THOMAS A. JOHNSON, #119203
 1
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3   Attorney for Defendant Armando Chavez
 4
 5                               IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                      )   Case No.: 2:07-cr-00515 WBS
 8   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
 9                  Plaintiff,                        )   CONTINUE JUDGMENT AND
                                                      )   SENTENCING
10       v.                                           )
     ARMANDO CHAVEZ,                                  )   Date:    April 25, 2011
11                                                    )   Time:    8:30 a.m.
                    Defendant                         )   Judge:   Hon. William B. Shubb
12                                                    )
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14          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Judgment
15   and Sentencing scheduled for February 22nd, 2011 at 8:30 a.m. is to be continued to April 25th,
16   2011 at 8:30 a.m. in the same courtroom. Michael Beckwith, Assistant United States Attorney,
17   and Thomas A. Johnson, Defendant’s attorney, both agree and stipulate to a continuance of the
18   judgment and sentencing.
19          The parties stipulate and agree that the interests of justice served by granting this
20   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
21   U.S.C. § 3161(h)(7)(A). It is further stipulated that the period from the date of this stipulation
22   through and including April 25th, be excluded in computing the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
24   Code T2 and T4 for continuity and preparation of counsel.
25
26          IT IS SO STIPULATED.
27   //
28   //




                                  STIPULATION AND ORDER                   -1-
             Case 2:07-cr-00515-WBS Document 272 Filed 02/22/11 Page 2 of 2



 1   DATE: February 17, 2011                              /s/ Thomas A. Johnson_____
                                                          THOMAS A. JOHNSON
 2                                                        Attorney for Defendant
                                                          ARMANDO CHAVEZ
 3
 4
     DATE: February 17, 2011                              BENJAMIN B. WAGNER
 5                                                        United States Attorney
 6                                             By:         /s/ Thomas A. Johnson for
                                                          MICHAEL BECKWITH
 7                                                        Assistant U.S. Attorney
 8
           IT IS SO ORDERED.
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11   Dated: February 18, 2011
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                            STIPULATION AND ORDER         -2-
